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                                        EXHIBIT 1
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Reg. No. 5,594,903            OLSON KUNDIG, INC. (WASHINGTON CORPORATION)
                              159 S. Jackson St. #600
Registered Oct. 30, 2018      Seattle, WASHINGTON 98104

                              CLASS 6: Metal cabinetry hardware, namely, pulls; metal door hardware, namely, latches,
Int. Cl.: 6, 8, 11, 20, 21,   knobs, pulls, handles, levers, knockers, door fittings of metal, ring shaped fittings of metal,
42                            escutcheon plates, door knob rosettes; Metal hardware, namely, latches, casters, hooks, towel
                              hooks; andirons
Service Mark                  FIRST USE 3-14-2012; IN COMMERCE 3-14-2012
Trademark                     CLASS 8: Fireplace pokers; Fireplace tool sets sold as a unit; Fireplace shovels

Principal Register            FIRST USE 7-7-2014; IN COMMERCE 7-7-2014

                              CLASS 11: Lighting Fixtures, outdoor decorative torches for illumination

                              FIRST USE 6-30-2015; IN COMMERCE 6-30-2015

                              CLASS 20: Metal, non-metal and wooden residential and commercial furniture, namely,
                              tables; shelving, cabinets non metal door hardware, namely, pulls

                              FIRST USE 7-23-2012; IN COMMERCE 7-23-2012

                              CLASS 21: Metal and non-metal household accessories and household goods, namely,
                              containers, bathroom accessories, namely, toilet paper holders; candle holders

                              FIRST USE 8-15-2013; IN COMMERCE 8-15-2013

                              CLASS 42: Consulting in the fields of engineering, architecture, interior design and exterior
                              design

                              FIRST USE 8-18-1982; IN COMMERCE 8-18-1982

                              THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                              PARTICULAR FONT STYLE, SIZE OR COLOR

                              OWNER OF U.S. REG. NO. 4799916, 4293527

                              SER. NO. 87-822,906, FILED 03-06-2018
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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                                        EXHIBIT 6
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12TH AVENUE PRODUCT LINE MEETING 12.18.09


General 12th Ave comments:

• Very excited about teaming up
• Have no pre-conceived expectations of program
• Want to know how OKA would like program to work
• Don’t necessarily want to work with other architects
• Interested in producing very high quality product

Questions for OKA:

• What is our model? Suyama or Hunziker
• What is our primary reason for product design? $$, name recognition,
  broadening markets,.....
• What are we designing? hardware, accessories, furniture,........
• Who is designing it? Tom, Jim, others, ........
• How is the line designated? i.e. Olson Kundig for 12th Ave. Iron, Tom Kundig
  for ...
• Do we want exclusivity? 12th Ave to work only with OKA
• How do we make money? Sell designs, percentage of sales, both......
• What about products designed for clients?
• Who manages? once we sell the design they manage or .........
• Who pays for patents?
• Quality control, OKA oversees?
• Do we want input into Website content?
• Do we want to link Websites?
• How much PR involvement for new line? Do we want to launch campaign?

Next steps:

• Research options used by others: Terry Hunziker and Sutherland, Holly McKinley
  and Meyer Wells, Suyama Pederson Deguchi 3x10, Deirdre Jordan, Christian
  Grevstad Inc.,....
• Marketing group discuss options
• Discuss options with 12th Ave
• Finalize details
• Set up contracts
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                                                               01/11/10

OKA/12th Avenue Iron Product Line


Initial 12th Ave thoughts/comments:

   -   We’re currently developing our own 12th Ave Iron line of products,
       and will be rebuilding our company website over the next couple
       of months, so it seems like a perfect time to work on a
       partnership with OKA to build a line of their designs
           o Our website will have a section dedicated to 12th Ave &
              OKA product lines, where customers can order online
   -   Also will have “bricks & mortar” retail space/showroom adjacent
       to our fabrication shop
   -   We completed a feasibility study last year to determine market
       demand for various products, and at what price points
           o Can provide a copy of the final report to Debbie Kennedy
   -   Teaming up with OKA feels like a natural fit
           o Already have strong working history
           o Both companies focus on highest quality design &
              workmanship
           o Advantages to physical closeness (1 ½ miles):
                   Easy communication
                   Convenient quality control for OKA
                   Low carbon footprint!
                   Quick development time for new products
                   Convenient for local OKA clients to come by 12th Ave
                     to see & touch products, and see how they’re made
                   Follows OKA credo of using local artists on their
                     projects
   -   12th Ave not necessarily interested in working with other
       architects
           o Don’t want to “dilute” the strength of product line(s)
   -   We think it will be essential to link our websites
           o We’re open to OKA input on site content for an OKA
              product section on our website
   -   It might be easiest & cleanest if 12th Ave is responsible for all
       sales transactions & delivery/shipping
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Specific thoughts on product development

   -   Might want to start physically small with products
          o 12th Ave is starting with coat hooks, shelf brackets, door
              hardware, drawer pulls, etc.
          o Makes production easier to start with, and easier to
              develop shipping system
   -   Will expand into furniture, light fixtures, railing systems
          o Need to look into logistics of getting UL Listings for lights
   -   We can build in combinations of metal, wood, glass, etc.
          o 12th Ave has strong network of professional artists working
              in other media (glass blowers/casters, etc.)
          o If we can’t do it ourselves, we know someone who can
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                                                       12TH AVENUE IRON™ APPAREL



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                               Slip Bar                    Center Roll                 Door Pulls + Levers           Black Tables

                              Slip Hook                    Corner Roll                    Door tKnocker              Black Desk

                           Slip Dbl Hook                   Droop Ear                         Entry Sets               Jack Box

                             Slip TP Bar                 Droop Earless                      Privacy Sets              Roll Table

                                                                Ear                         Passage Sets             Disc Bench

                                                             Earless                                                    Tray

                                                               Fold                                                      Roo

                                                               Peel                                                      Roll

                                                               Esty



             TK Hooks                  TK Lighting               TK Fire               TK Wheels           TK Finish Sample Collection


         Half Pipe Hook                    Perf                   Shovel                   Roll

       Half Pipe Dbl Hook              Perf Pulley                Poker                    Disc

               Hook                        Pipe                     S+P

           Notch Hook                  Pipe Pulley           Kipp Andirons

          Rod Dbl hook

             Slip Hook

          Slip Dbl Hook

         Tube Dbl Hook



https://www.12thavenueiron.com/collections/tom-kundig-door-hardware-pulls-levers/products/b-wood                                           1/5
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                                                             STORE MESSAGE
                                                          EDIT IN THEME SETTINGS




        SEE MORE: DOOR HARDWARE                                                                                    PREVIOUS / NEXT



                                                                                  Tom Kundig Collection


                                                                                  B. WOOD
                                                                                  $1,595.00

                                                                                  Quantity            1


                                                                                  Finish

                                                                                   Blackened Steel

                                                                                  Application        Residential

                                                                                  Back-to-           No
                                                                                  Back

                                                                                  Door*              1-3/4" thick Door



                                                                                        ADD TO CART



                                                                                  Designed by: Tom Kundig

                                                                                  Welded steel tube door pull, with solid
                                                                                  walnut grip, 2"OD x 24"h.bSteel shown in
                                                                                  standard blackened & waxed Ønish.

                                                                                  Pictured here with standard (Residential)
                                                                                  mounting. Also available with a Commercial

https://www.12thavenueiron.com/collections/tom-kundig-door-hardware-pulls-levers/products/b-wood                                     2/5
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                                                                                  mounting system, which includes a full-height
                                                                                  welded mounting plate, thru-bolted to a push
                                                                                  plate on the opposite side of the door.



                                                                                  Optional powder coatbØnishes: satin black,
                                                                                  gloss red, or gloss white.

                                                                                  Also available in stainless steel with a satin
                                                                                  bead blasted Ønish, or in bronze with an oil-
                                                                                  rubbed Ønish.

                                                                                  *Please provide door thickness when
                                                                                  ordering.

                                                                                  See spec sheet for information regarding
                                                                                  product Ønishes and maintenance.

                                                                                  Download Spec Sheet


                                                                                      *Shipping + Returns

                                                                                      Product Disclaimer

                                                                                  All of our products are made to order.
                                                                                  Standard fabrication time of most items is 6-
                                                                                  8 weeks after the order is placed, and does
                                                                                  not include shipping time. Estimated
                                                                                  standard lead times are not guaranteed, and
                                                                                  do not apply to custom or high volume
                                                                                  orders. For lead times on special orders or
                                                                                  for large quantities, we will contact you
                                                                                  directly. If you paid for expedited
                                                                                  fabrication, your order will be ready to ship
                                                                                  in 2-3 weeks, guaranteed. If your expedited
                                                                                  items have not shipped after 3 weeks, the
                                                                                  25% rush charge will be refunded. Please
                                                                                  note that some products and Ønishes are not
                                                                                  available for expedited fabrication and
                                                                                  require longer lead times.

                                                                                  We offer refunds on most unused
                                                                                  merchandise minus a 25% restocking fee,
https://www.12thavenueiron.com/collections/tom-kundig-door-hardware-pulls-levers/products/b-wood                                   3/5
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                                                                                  excluding any shipping and handling costs.
                                                                                  Accurate locks and Baton cyclinders are non-
                                                                                  returnable. Items must be returned within 15
                                                                                  days of delivery in new condition and original
                                                                                  packaging. Any damages that occurred during
                                                                                  shipping must be reported within 5 days of
                                                                                  delivery for a proper replacement or credit to
                                                                                  be given. Large volume orders, and some
                                                                                  bronze items, may not be eligible for return.
                                                                                  We are not able to offer refunds on custom
                                                                                  orders.




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                                                                                                   Avenue         74




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                              Slip Bar                  Center Roll             Door Pulls + Levers           Black Tables

                             Slip Hook                  Corner Roll               Door tKnocker                Black Desk

                           Slip Dbl Hook                 Droop Ear                   Entry Sets                 Jack Box

                            Slip TP Bar                Droop Earless                Privacy Sets                Roll Table

                                                            Ear                    Passage Sets                Disc Bench

                                                          Earless                                                  Tray

                                                           Fold                                                    Roo

                                                           Peel                                                    Roll

                                                           Esty



            TK Hooks                  TK Lighting            TK Fire           TK Wheels           TK Finish Sample Collection


         Half Pipe Hook                   Perf               Shovel                Roll

       Half Pipe Dbl Hook             Perf Pulley             Poker                Disc

               Hook                       Pipe                 S+P

           Notch Hook                 Pipe Pulley         Kipp Andirons

          Rod Dbl hook

            Slip Hook

          Slip Dbl Hook

         Tube Dbl Hook



https://www.12thavenueiron.com/products/tknocker                                                                                     1/4
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                                                        STORE MESSAGE
                                                      EDIT IN THEME SETTINGS




        SEE MORE: DOOR HARDWARE



                                                                           Tom Kundig Collection


                                                                           TKNOCKER
                                                                           $502.00

                                                                           Quantity             1


                                                                           Finish             Blackened Steel

                                                                           Lead Time          Standard (8-10 weeks)



                                                                                ADD TO CART



                                                                           Designed by: Tom Kundig

                                                                           Entry door knocker, fabricated with 2-
                                                                           3/8"OD steel tube and hot forged steel
                                                                           backer plate, 9"h x 3-1/4"w, blackened with a
                                                                           wax Ønish.

                                                                           Optional powder coat Ønishes = satin black,
                                                                           gloss red, or gloss white:




                                                                           Also available in stainless steel with a satin
                                                                           bead-blasted Ønish, or in bronze with an oil-
https://www.12thavenueiron.com/products/tknocker                                                                            2/4
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                                                                           rubbed Ønish.bPlease note: the bronze
                                                                           tKnocker is made with 2-1/2"OD tube
                                                                           instead of 2-3/8"OD.

                                                                           See spec sheet for information regarding
                                                                           product Ønishes and maintenance.

                                                                           Download Spec Sheet

                                                                           (photos by Michael Burns)


                                                                              *Shipping + Returns

                                                                              Product Disclaimer

                                                                           All of our products are made to order.
                                                                           Standard fabrication time of most items is 6-
                                                                           8 weeks after the order is placed, and does
                                                                           not include shipping time. Estimated
                                                                           standard lead times are not guaranteed, and
                                                                           do not apply to custom or high volume
                                                                           orders. For lead times on special orders or
                                                                           for large quantities, we will contact you
                                                                           directly. If you paid for expedited
                                                                           fabrication, your order will be ready to ship
                                                                           in 2-3 weeks, guaranteed. If your expedited
                                                                           items have not shipped after 3 weeks, the
                                                                           25% rush charge will be refunded. Please
                                                                           note that some products and Ønishes are not
                                                                           available for expedited fabrication and
                                                                           require longer lead times.

                                                                           We offer refunds on most unused
                                                                           merchandise minus a 25% restocking fee,
                                                                           excluding any shipping and handling costs.
                                                                           Accurate locks and Baton cyclinders are non-
                                                                           returnable. Items must be returned within 15
                                                                           days of delivery in new condition and original
                                                                           packaging. Any damages that occurred during
                                                                           shipping must be reported within 5 days of
                                                                           delivery for a proper replacement or credit to
                                                                           be given. Large volume orders, and some

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                                                                           bronze items, may not be eligible for return.
                                                                           We are not able to offer refunds on custom
                                                                           orders.




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                               Slip Hook                    Corner Roll                  Door tKnocker             Black Desk

                            Slip Dbl Hook                    Droop Ear                     Entry Sets               Jack Box

                              Slip TP Bar                  Droop Earless                  Privacy Sets              Roll Table

                                                                   Ear                    Passage Sets             Disc Bench

                                                               Earless                                                Tray

                                                                   Fold                                                Roo

                                                                   Peel                                                Roll

                                                                   Esty



             TK Hooks                   TK Lighting                 TK Fire        TK Wheels             TK Finish Sample Collection


          Half Pipe Hook                     Perf                    Shovel              Roll

       Half Pipe Dbl Hook               Perf Pulley                  Poker               Disc

                Hook                        Pipe                      S+P

            Notch Hook                  Pipe Pulley            Kipp Andirons

           Rod Dbl hook

             Slip Hook

          Slip Dbl Hook

          Tube Dbl Hook



https://www.12thavenueiron.com/products/center-roll-cabinet-pull                                                                         1/5
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                                                               STORE MESSAGE
                                                            EDIT IN THEME SETTINGS




         SEE MORE: CABINET HARDWARE



                                                                           Tom Kundig Collection


                                                                           CENTER ROLL
                                                                           CABINET PULL
                                                                           $95.00

                                                                           Quantity            1


                                                                           Size               4"

                                                                           Finish

                                                                            Blackened Steel

                                                                           Lead Time          Standard (8-10 weeks)



                                                                                  ADD TO CART



                                                                           Designed by: Tom Kundig

                                                                           Milled solid steel bar with a bullnose proØle,
                                                                           blackened with a wax Ønish. Sizes include: 4",
                                                                           6" and 9".

                                                                           Also available in stainless steel with a satin
                                                                           bead-blasted Ønish, or in solid bronze with an
                                                                           oil-rubbed Ønish.

https://www.12thavenueiron.com/products/center-roll-cabinet-pull                                                            2/5
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                                                                         For powder coat Ønishes, choose from satin
                                                                         black, gloss red, or gloss white:




                                                                         See spec sheet for information regarding
                                                                         product Ønishes and maintenance.

                                                                         Download Spec Sheet

                                                                         (photos by Michael Burns)


                                                                             *Shipping + Returns

                                                                             Product Disclaimer

                                                                         All of our products are made to order.
                                                                         Standard fabrication time of most items is 6-
                                                                         8 weeks after the order is placed, and does
                                                                         not include shipping time. Estimated
                                                                         standard lead times are not guaranteed, and
                                                                         do not apply to custom or high volume
                                                                         orders. For lead times on special orders or
                                                                         for large quantities, we will contact you
                                                                         directly. If you paid for expedited
                                                                         fabrication, your order will be ready to ship
                                                                         in 2-3 weeks, guaranteed. If your expedited
                                                                         items have not shipped after 3 weeks, the
                                                                         25% rush charge will be refunded. Please
                                                                         note that some products and Ønishes are not
                                                                         available for expedited fabrication and
                                                                         require longer lead times.

                                                                         We offer refunds on most unused
                                                                         merchandise minus a 25% restocking fee,
                                                                         excluding any shipping and handling costs.
                                                                         Accurate locks and Baton cyclinders are non-
                                                                         returnable. Items must be returned within 15
                                                                         days of delivery in new condition and original
                                                                         packaging. Any damages that occurred during
                                                                         shipping must be reported within 5 days of
                                                                         delivery for a proper replacement or credit to

https://www.12thavenueiron.com/products/center-roll-cabinet-pull                                                          3/5
6/29/22, 12:57 PM      Case 2:22-cv-00825-JLR     Document
                                          Center Roll Cabinet Pull 7-1    FiledCollection
                                                                   - Tom Kundig 06/30/22         PageIron
                                                                                          – 12th Avenue 47Inc.
                                                                                                            of 74
                                                                         be given. Large volume orders, and some
                                                                         bronze items, may not be eligible for return.
                                                                         We are not able to offer refunds on custom
                                                                         orders.




                                                                         Share:          Tweet       Save   Fancy
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                                                       YOU MAY ALSO LIKE




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https://www.12thavenueiron.com/products/center-roll-cabinet-pull                                                         4/5
6/29/22, 12:57 PM      Case 2:22-cv-00825-JLR     Document
                                          Center Roll Cabinet Pull 7-1    FiledCollection
                                                                   - Tom Kundig 06/30/22         PageIron
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https://www.12thavenueiron.com/products/center-roll-cabinet-pull                                                    5/5
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                                        EXHIBIT 10
             Case 2:22-cv-00825-JLR Document 7-1 Filed 06/30/22 Page 50 of 74




                                                                       Direct Phone: 206.447.6282
                                                                       Fax: 206.749.1940
                                                                       ben.hodges@foster.com

                                                April 28, 2022

12th Avenue Iron, Inc.
Attn: Steve Marks
1215 12th Avenue
Seattle, WA 98122
steve@12thavenueiron.com

       Re:     Tom Kundig (TK) Collection Product Manufacturing

Mr. Marks:

        We represent Olson Kundig and write to you on their behalf. We understand that 12th Avenue Iron
is, and has been, marketing, selling, and manufacturing products under the Tom Kundig, or TK, Collection
brand. While Olson Kundig appreciates the history and past relationship between the two companies, it
has come to our attention that 12th Avenue is not adequately fulfilling orders and ceased paying royalties
for the use of the Tom Kundig name for some time now. As you know, Olson Kundig attempted to work
through these issues with you, but at this time it is unfortunately apparent that these issues cannot be
resolved and any business relationship between 12th Avenue and Olson Kundig needs to end.

     As an initial matter, there is no executed contract allowing 12th Avenue to continue its use of the
Tom Kundig name and brand. Therefore, 12th Avenue has no rights to continue its involvement with the
Tom Kundig (TK) Collection.

       If 12th Avenue believes that the discussed, but not signed, agreement between Olson Kundig and
12th Avenue is in force and gives 12th Avenue any rights, then this letter acts as formal notice of breach
and termination pursuant to that agreement. 12th Avenue’s failure to pay the ongoing royalty is a breach
of Section 1.4 of that agreement. Further, 12th Avenue’s failure to timely fulfill orders is a breach of
Sections 1.2(b) and (c). Therefore, this letter acts as notice under Section 3.3 that 12th Avenue is in material
breach if the agreement is binding. Even if 12th Avenue believes it is not in breach, this letter also acts as
notice of termination pursuant to Section 3.2. Under Section 3.2, Olson Kundig can terminate the
agreement without cause.

        12th Avenue’s actions have caused, and continue to cause, Olson Kundig damage in multiple ways.
First, 12th Avenue has not paid the royalty due to Olson Kundig for some time. Second, 12th Avenue’s
failure to timely and correctly fulfill orders for the Tom Kundig line has caused, and is causing, damage
            Case 2:22-cv-00825-JLR Document 7-1 Filed 06/30/22 Page 51 of 74



                                                                      April 28, 2022
                                                                      Page 2



to Olson Kundig’s reputation and the intellectual property associated with the Tom Kundig name.
Dissatisfied customers are blaming Olson Kundig for 12th Avenue’s failures and delays because 12th
Avenue is using the Tom Kundig name associated with Olson Kundig.

        You must (1) immediately remove the Tom Kundig (TK) Collection line, and all mention of Tom
Kundig or association with Olson Kundig, from your website and all future marketing materials (2) return
customer’s payments for any unfulfilled orders, (3) give Olson Kundig all documentation related to all
unfulfilled orders of TK Collection products, so that customers or Olson Kundig can make alternate
arrangements to have those orders fulfilled (4) refer any inquiries for TK Collection products to Olson
Kundig, and (5) return all shop drawings, other designs/drawings, and any other documents provided by
or created by OK.

       If you comply with these requests and in recognition of the past relationship between the
companies, Olson Kundig will be willing to amicably resolve these issues by not pursuing damages to
Olson Kundig caused by 12th Avenue’s failure to timely fulfill orders. If you do not agree to these requests,
Olson Kundig reserves its rights to pursue damages in addition to terminating its relationship between 12th
Avenue and Olson Kundig.

       We hope this matter can be resolved amicably, so please respond to us demonstrating compliance
with these requests by Friday, April 29.


                                              Sincerely,

                                              FOSTER GARVEY PC




                                              Ben Hodges
                                              Principal
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                                        EXHIBIT 11
6/28/22, 5:24 PM      Case 2:22-cv-00825-JLR
                                          Notch Document       7-1Kundig
                                                Hook - Hook - Tom    Filed    06/30/22
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           SEARCH                                                                                                      CART (0)




                         ABOUT US +              CUSTOM PROJECTS +           TOM KUNDIG COLLECTION -



                                                       12TH AVENUE IRON™ APPAREL



                                                            REGISTER / LOG IN




           About              TK Bath                TK Cabinet Hardware        TK Door Hardware          TK Furnishings


                              Slip Bar                   Center Roll            Door Pulls + Levers         Black Tables

                             Slip Hook                   Corner Roll              Door tKnocker             Black Desk

                          Slip Dbl Hook                   Droop Ear                 Entry Sets               Jack Box

                            Slip TP Bar                 Droop Earless              Privacy Sets              Roll Table

                                                             Ear                   Passage Sets             Disc Bench

                                                           Earless                                              Tray

                                                            Fold                                                Roo

                                                            Peel                                                Roll

                                                            Esty



            TK Hooks                  TK Lighting             TK Fire        TK Wheels            TK Finish Sample Collection


         Half Pipe Hook                   Perf                Shovel              Roll

       Half Pipe Dbl Hook             Perf Pulley              Poker              Disc

               Hook                       Pipe                  S+P

           Notch Hook                 Pipe Pulley          Kipp Andirons

          Rod Dbl hook

            Slip Hook

          Slip Dbl Hook

         Tube Dbl Hook



https://www.12thavenueiron.com/products/notch-hook                                                                                1/4
6/28/22, 5:24 PM      Case 2:22-cv-00825-JLR
                                          Notch Document       7-1Kundig
                                                Hook - Hook - Tom    Filed    06/30/22
                                                                         Collection           Page
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                                                                                                       Inc. of 74


                                                       STORE MESSAGE
                                                     EDIT IN THEME SETTINGS




        SEE MORE: WALL HOOKS



                                                                         Tom Kundig Collection


                                                                         NOTCH HOOK
                                                                         $163.00

                                                                         Quantity            1


                                                                         Finish             Blackened Steel

                                                                         Lead Time*         Standard (6-8 weeks)



                                                                              ADD TO CART



                                                                         Designed by: Tom Kundig

                                                                         Steel tube double wall hook, notched and
                                                                         bent at both ends. Blackened with a wax
                                                                         Ønish.

                                                                         Also available in satin bead-blasted stainless
                                                                         steel.

                                                                         Download Spec Sheet

                                                                         (photos by Kevin Scott)


                                                                             *Shipping + Returns
https://www.12thavenueiron.com/products/notch-hook                                                                        2/4
6/28/22, 5:24 PM      Case 2:22-cv-00825-JLR
                                          Notch Document       7-1Kundig
                                                Hook - Hook - Tom    Filed    06/30/22
                                                                         Collection           Page
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                                                                            Product Disclaimer

                                                                         All of our products are made to order.
                                                                         Standard fabrication time of most items is 6-
                                                                         8 weeks after the order is placed, and does
                                                                         not include shipping time. Estimated
                                                                         standard lead times are not guaranteed, and
                                                                         do not apply to custom or high volume
                                                                         orders. For lead times on special orders or
                                                                         for large quantities, we will contact you
                                                                         directly. If you paid for expedited
                                                                         fabrication, your order will be ready to ship
                                                                         in 2-3 weeks, guaranteed. If your expedited
                                                                         items have not shipped after 3 weeks, the
                                                                         25% rush charge will be refunded. Please
                                                                         note that some products and Ønishes are not
                                                                         available for expedited fabrication and
                                                                         require longer lead times.

                                                                         We offer refunds on most unused
                                                                         merchandise minus a 25% restocking fee,
                                                                         excluding any shipping and handling costs.
                                                                         Accurate locks and Baton cyclinders are non-
                                                                         returnable. Items must be returned within 15
                                                                         days of delivery in new condition and original
                                                                         packaging. Any damages that occurred during
                                                                         shipping must be reported within 5 days of
                                                                         delivery for a proper replacement or credit to
                                                                         be given. Large volume orders, and some
                                                                         bronze items, may not be eligible for return.
                                                                         We are not able to offer refunds on custom
                                                                         orders.




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                                                     YOU MAY ALSO LIKE

https://www.12thavenueiron.com/products/notch-hook                                                                        3/4
6/28/22, 5:24 PM      Case 2:22-cv-00825-JLR
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                                                Hook - Hook - Tom    Filed    06/30/22
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https://www.12thavenueiron.com/products/notch-hook                                                                  4/4
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                                        EXHIBIT 12
6/28/22, 5:25 PM      Case 2:22-cv-00825-JLR      Document
                                        Half Pipe Dbl Hook - Hook7-1    FiledCollection
                                                                 - Tom Kundig 06/30/22         Page Iron
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            SEARCH                                                                                                         CART (0)




                         ABOUT US +               CUSTOM PROJECTS +             TOM KUNDIG COLLECTION -



                                                       12TH AVENUE IRON™ APPAREL



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           About               TK Bath              TK Cabinet Hardware             TK Door Hardware          TK Furnishings


                               Slip Bar                      Center Roll            Door Pulls + Levers         Black Tables

                              Slip Hook                      Corner Roll              Door tKnocker             Black Desk

                           Slip Dbl Hook                     Droop Ear                  Entry Sets               Jack Box

                             Slip TP Bar                 Droop Earless                 Privacy Sets              Roll Table

                                                                Ear                    Passage Sets             Disc Bench

                                                               Earless                                             Tray

                                                                Fold                                                Roo

                                                                Peel                                                Roll

                                                                Esty



             TK Hooks                  TK Lighting                TK Fire       TK Wheels             TK Finish Sample Collection


         Half Pipe Hook                    Perf                   Shovel              Roll

       Half Pipe Dbl Hook              Perf Pulley                 Poker              Disc

               Hook                        Pipe                     S+P

           Notch Hook                  Pipe Pulley            Kipp Andirons

          Rod Dbl hook

             Slip Hook

          Slip Dbl Hook

         Tube Dbl Hook



https://www.12thavenueiron.com/products/half-pipe-dbl-hook                                                                            1/4
6/28/22, 5:25 PM      Case 2:22-cv-00825-JLR      Document
                                        Half Pipe Dbl Hook - Hook7-1    FiledCollection
                                                                 - Tom Kundig 06/30/22         Page Iron
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                                                              STORE MESSAGE
                                                             EDIT IN THEME SETTINGS




        SEE MORE: WALL HOOKS



                                                                            Tom Kundig Collection


                                                                            HALF PIPE DBL
                                                                            HOOK
                                                                            $160.00

                                                                            Quantity            1


                                                                            Finish           Blackened Steel

                                                                            Lead Time*       Standard (6-8 weeks)



                                                                                ADD TO CART



                                                                            Designed by: Tom Kundig

                                                                            Two-sided sliced steel pipe hook. Blackened
                                                                            with a wax Ønish.

                                                                            Also available in bead-blasted stainless steel.

                                                                            Download Spec Sheet

                                                                            (photos by Kevin Scott)


                                                                               *Shipping + Returns

https://www.12thavenueiron.com/products/half-pipe-dbl-hook                                                                    2/4
6/28/22, 5:25 PM      Case 2:22-cv-00825-JLR      Document
                                        Half Pipe Dbl Hook - Hook7-1    FiledCollection
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                                                                           Product Disclaimer

                                                                        All of our products are made to order.
                                                                        Standard fabrication time of most items is 6-
                                                                        8 weeks after the order is placed, and does
                                                                        not include shipping time. Estimated
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                                                                        fabrication, your order will be ready to ship
                                                                        in 2-3 weeks, guaranteed. If your expedited
                                                                        items have not shipped after 3 weeks, the
                                                                        25% rush charge will be refunded. Please
                                                                        note that some products and Ønishes are not
                                                                        available for expedited fabrication and
                                                                        require longer lead times.

                                                                        We offer refunds on most unused
                                                                        merchandise minus a 25% restocking fee,
                                                                        excluding any shipping and handling costs.
                                                                        Accurate locks and Baton cyclinders are non-
                                                                        returnable. Items must be returned within 15
                                                                        days of delivery in new condition and original
                                                                        packaging. Any damages that occurred during
                                                                        shipping must be reported within 5 days of
                                                                        delivery for a proper replacement or credit to
                                                                        be given. Large volume orders, and some
                                                                        bronze items, may not be eligible for return.
                                                                        We are not able to offer refunds on custom
                                                                        orders.




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https://www.12thavenueiron.com/products/half-pipe-dbl-hook                                                               3/4
6/28/22, 5:25 PM      Case 2:22-cv-00825-JLR      Document
                                        Half Pipe Dbl Hook - Hook7-1    FiledCollection
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https://www.12thavenueiron.com/products/half-pipe-dbl-hook                                                        4/4
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                                       No Peek Privacy Sliding Door 7-1      Filed
                                                                    Pull - Tom     06/30/22
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                                                                                      Collection – 12th     63Iron
                                                                                                        Avenue  of Inc.
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                          ABOUT US +               CUSTOM PROJECTS +                    TOM KUNDIG COLLECTION -



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            About              TK Bath               TK Cabinet Hardware                  TK Door Hardware                TK Furnishings


                               Slip Bar                     Center Roll                  Door Pulls + Levers                  Black Tables

                              Slip Hook                     Corner Roll                     Door tKnocker                     Black Desk

                            Slip Dbl Hook                    Droop Ear                         Entry Sets                      Jack Box

                             Slip TP Bar                  Droop Earless                       Privacy Sets                     Roll Table

                                                                 Ear                          Passage Sets                    Disc Bench

                                                               Earless                                                           Tray

                                                                 Fold                                                             Roo

                                                                 Peel                                                             Roll

                                                                 Esty



             TK Hooks                  TK Lighting                 TK Fire               TK Wheels             TK Finish Sample Collection


         Half Pipe Hook                     Perf                   Shovel                    Roll

       Half Pipe Dbl Hook               Perf Pulley                 Poker                    Disc

                Hook                        Pipe                     S+P

           Notch Hook                   Pipe Pulley           Kipp Andirons

          Rod Dbl hook

             Slip Hook

          Slip Dbl Hook

          Tube Dbl Hook



https://www.12thavenueiron.com/collections/tom-kundig-door-hardware-pulls-levers/products/no-peek-privacy-sliding-door-pull                         1/4
6/28/22, 5:29 PM       Case 2:22-cv-00825-JLR       Document
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                                                              STORE MESSAGE
                                                            EDIT IN THEME SETTINGS




        SEE MORE: DOOR HARDWARE                                                                                           PREVIOUS / NEXT



                                                                                    Tom Kundig Collection


                                                                                    NO PEEK PRIVACY
                                                                                    SLIDING DOOR
                                                                                    PULL
                                                                                    $1,183.00

                                                                                    Quantity                1


                                                                                    Size                  1-3/4" width

                                                                                    Finish                Blackened Steel


                                                                                    Orientation           Left



                                                                                           ADD TO CART



                                                                                    Designed by: Tom Kundig

                                                                                    Folded and welded 1/8" hot-rolled steel
                                                                                    sliding door pull, 2"w x 13"h, with integrated
                                                                                    privacy latch. Blackened with a wax Ønish.

                                                                                    Also available in stainless steel with a satin
                                                                                    bead-blasted Ønish, or in solid bronze with an

https://www.12thavenueiron.com/collections/tom-kundig-door-hardware-pulls-levers/products/no-peek-privacy-sliding-door-pull                 2/4
6/28/22, 5:29 PM       Case 2:22-cv-00825-JLR       Document
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                                                                                      Collection – 12th     65Iron
                                                                                                        Avenue  of Inc.
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                                                                                    oil-rubbed Ønish.

                                                                                    Please specify door thickness when ordering.

                                                                                    See spec sheet for information regarding
                                                                                    product Ønishes and maintenance.

                                                                                    Download Spec Sheet

                                                                                    (photos by Ryan Patterson)


                                                                                        *Shipping + Returns

                                                                                        Product Disclaimer

                                                                                    All of our products are made to order.
                                                                                    Standard fabrication time of most items is 6-
                                                                                    8 weeks after the order is placed, and does
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                                                                                    standard lead times are not guaranteed, and
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                                                                                    fabrication, your order will be ready to ship
                                                                                    in 2-3 weeks, guaranteed. If your expedited
                                                                                    items have not shipped after 3 weeks, the
                                                                                    25% rush charge will be refunded. Please
                                                                                    note that some products and Ønishes are not
                                                                                    available for expedited fabrication and
                                                                                    require longer lead times.

                                                                                    We offer refunds on most unused
                                                                                    merchandise minus a 25% restocking fee,
                                                                                    excluding any shipping and handling costs.
                                                                                    Accurate locks and Baton cyclinders are non-
                                                                                    returnable. Items must be returned within 15
                                                                                    days of delivery in new condition and original
                                                                                    packaging. Any damages that occurred during
                                                                                    shipping must be reported within 5 days of
                                                                                    delivery for a proper replacement or credit to
                                                                                    be given. Large volume orders, and some
                                                                                    bronze items, may not be eligible for return.
https://www.12thavenueiron.com/collections/tom-kundig-door-hardware-pulls-levers/products/no-peek-privacy-sliding-door-pull          3/4
6/28/22, 5:29 PM       Case 2:22-cv-00825-JLR       Document
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                                                                                    We are not able to offer refunds on custom
                                                                                    orders.




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https://www.12thavenueiron.com/collections/tom-kundig-door-hardware-pulls-levers/products/no-peek-privacy-sliding-door-pull           4/4
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6/28/22, 5:30 PM      Case 2:22-cv-00825-JLR
                                          Slip DblDocument       7-1Kundig
                                                  Hook - Hook - Tom    Filed   06/30/22
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                        ABOUT US +              CUSTOM PROJECTS +                   TOM KUNDIG COLLECTION -



                                                    12TH AVENUE IRON™ APPAREL



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           About             TK Bath             TK Cabinet Hardware                TK Door Hardware          TK Furnishings


                             Slip Bar                   Center Roll                 Door Pulls + Levers         Black Tables

                            Slip Hook                  Corner Roll                    Door tKnocker             Black Desk

                          Slip Dbl Hook                 Droop Ear                       Entry Sets               Jack Box

                           Slip TP Bar                Droop Earless                    Privacy Sets              Roll Table

                                                            Ear                        Passage Sets             Disc Bench

                                                          Earless                                                  Tray

                                                            Fold                                                    Roo

                                                            Peel                                                    Roll

                                                            Esty



            TK Hooks                TK Lighting               TK Fire               TK Wheels         TK Finish Sample Collection


         Half Pipe Hook                  Perf                 Shovel                  Roll

      Half Pipe Dbl Hook             Perf Pulley               Poker                  Disc

               Hook                      Pipe                   S+P

           Notch Hook                Pipe Pulley          Kipp Andirons

          Rod Dbl hook

            Slip Hook

          Slip Dbl Hook

         Tube Dbl Hook



https://www.12thavenueiron.com/products/slip-dbl-hook?_pos=1&_sid=d5d7946b6&_ss=r                                                     1/4
6/28/22, 5:30 PM     Case 2:22-cv-00825-JLR
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                                                 Hook - Hook - Tom    Filed   06/30/22
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                                                                                                        Inc.of 74


                                                          STORE MESSAGE
                                                       EDIT IN THEME SETTINGS




        SEE MORE: WALL HOOKS



                                                                             Tom Kundig Collection


                                                                             SLIP DBL HOOK
                                                                             $215.00

                                                                             Quantity             1


                                                                             Finish

                                                                               Blackened Steel

                                                                             Lead Time           Standard (8-10 weeks)



                                                                                    ADD TO CART



                                                                             Designed by: Tom Kundig

                                                                             Steel tube with offset rings pinned at both
                                                                             ends. Blackened with a wax Ønish.

                                                                             Also available in satin bead-blasted stainless
                                                                             steel.

                                                                             Download Spec Sheet

                                                                             (photos by Kevin Scott)



https://www.12thavenueiron.com/products/slip-dbl-hook?_pos=1&_sid=d5d7946b6&_ss=r                                             2/4
6/28/22, 5:30 PM     Case 2:22-cv-00825-JLR
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                                                                                    *Shipping + Returns

                                                                                    Product Disclaimer

                                                                             All of our products are made to order.
                                                                             Standard fabrication time of most items is 6-
                                                                             8 weeks after the order is placed, and does
                                                                             not include shipping time. Estimated
                                                                             standard lead times are not guaranteed, and
                                                                             do not apply to custom or high volume
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                                                                             be given. Large volume orders, and some
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                                                                             We are not able to offer refunds on custom
                                                                             orders.




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        12th Avenue Iron is pleased to announce the launch of our Ørst line of guest-authored design
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